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the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately

1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.

Vice President Mike Pence was present and presiding, first in the joint session, and then in the

Senate chamber.

        6.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.

Capitol. As noted above, temporary and permanent barricades were in place around the exterior of

the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd

away from the Capitol building and the proceedings underway inside.

        7.      At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter

or remain in the building and, prior to entering the building, no members of the crowd submitted

to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized

security officials.

        8.      At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,

shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by

breaking windows and by assaulting members of law enforcement, as others in the crowd

encouraged and assisted those acts. The riot resulted in substantial damage to the U.S. Capitol,

requiring the expenditure of more than $1.4 million dollars for repairs.
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       9.      Shortly thereafter, at approximately 2:20 p.m., members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Pence, were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the

United States Congress, including the joint session, were effectively suspended until shortly after

8:00 p.m. the same day. In light of the dangerous circumstances caused by the unlawful entry to

the U.S. Capitol, including the danger posed by individuals who had entered the U.S. Capitol

without any security screening or weapons check, Congressional proceedings could not resume

until after every unauthorized occupant had left the U.S. Capitol, and the building had been

confirmed secured. The proceedings resumed at approximately 8:00 p.m. after the building had

been secured. Vice President Pence remained in the United States Capitol from the time he was

evacuated from the Senate Chamber until the session resumed.

       10.     On January 6, 2021, defendant JESSICA LOUISE BUSTLE and her husband,

defendant JOSHUA KAHLE BUSTLE, entered the U.S. Capitol building and remained within for

at least approximately twenty minutes. Neither defendant had permission or authority to be inside.

       11.     Records obtained from Google and Verizon confirm that cell phones associated

with JOSHUA KAHLE BUSTLE and JESSICA LOUISE BUSTLE were in or around the Capitol

building beginning at around 2:30 p.m. Ms. Bustle’s device was shown to be in or around the

Capitol building from 2:32 p.m. to 2:50 p.m., and Mr. Bustle’s device was shown to be in or around

the Capitol building from 2:28 p.m. to 3:31 p.m.

       12.     Video surveillance footage from inside the Capitol building show JOSHUA

KAHLE BUSTLE and JESSICA LOUISE BUSTLE enter the U.S. Capitol building via the east

entrance to the Capitol rotunda. They remained in and around the Capitol rotunda, from at least

about 2:53 p.m. to about 3:10 p.m. In these video segments, both of the BUSTLES carried signs
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protesting the U.S. government’s efforts to vaccinate the population against COVID-19. JESSICA

LOUISE BUSTLE held aloft a double-sided sign as she walked through the Capitol building. One

side read, in part, “Vaccine injury is the real pandemic,” and the other read, in part, “Mandatory

medical procedures have no place in a free society.” JOSHUA KAHLE BUSTLE carried a similar

sign. At times, he held this sign aloft; at other times, he appeared to record JESSICA LOUISE

BUSTLE using his cell phone.

       13.     In addition, through their presence at the U.S. Capitol building, JOSHUA KAHLE

BUSTLE and JESSICA LOUISE BUSTLE demonstrated against the certification of the vote count

of the Electoral College of the 2020 Presidential Election. Through her Facebook account, both

before and after the riot at the Capitol, JESSICA LOUISE BUSTLE wrote about her and her

husband’s purpose for entering the Capitol building. Before traveling to the Capitol, she posted a

message that read, in part, “We don’t win this thing sitting on the sidelines. Excited to stand for

truth with my fellow patriots and freedom fighters in D.C. today.” During or after the riot, she

posted a message that read, in part, “Pence is a traitor. We stormed the capital [sic]. An unarmed

peaceful woman down the hall from us was shot in the neck by cops. It’s insane here.” In another

message, apparently written after the riot, she wrote “We need a Revolution! We can accept an

honest and fair election but this is NOT fair and patriots don’t want to see their country brought

into communism and destroyed over a lie.”
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                                             Conclusion

       14.    Based on the facts set forth above, the government’s evidence establishes that

JOSHUA KAHLE BUSTLE and JESSICA LOUISE BUSTLE willfully and knowingly paraded,

demonstrated, and picketed within the U.S. Capitol building.



                                            Respectfully submitted,

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